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AO 440 (Rev. 06/12) Summons in a Civil Action

ORIGIN A UNITED STATES DISTRICT COURT

for the
District of Maine
United States Department of Agriculture )
)
)
)
Plaintiff(s) )
Vv. Civil Action No. 1:25-cvy-00155-JAW
CHRISTINE D OGDEN )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

CHRISTINE D OGDEN
13 OLD ROUTE ONE
SEARPORT ME 04974

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Kevin J Crosman, Esq.
Jensen Baird Gardner & Henry,
Ten Free Street,
P.O. Box 4510,
Portland, ME 04112-4510

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: 04/11/2025

Christa K. Berry
Clerk, U.S. District Court
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Civil Action No,

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

_ summons for (name of individual and title, if any) C h iv shone D : DG den
was received by me on (date) ey / 24/ 25

MI personally served the summons on the individual at (place) / 8 old Rou te On e.

Seacspoct, ME. Oug?y on (date) 4/30 fas io

O I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
(1 I returned the summons unexecuted because 5 or
O Other (specify):
¢ 73 . ~ .
My fees are $ oS for travel and$ ‘7% for services, for a total of $ 0.00
"“~

f= 7a’

I declare under penalty of perjury that this information is true.

pate: 4/30 20 wa Cress a

Server’s signature

De le C a$$

Printed name and title

Server's address

Additional information regarding attempted service, etc:
